      Case 2:19-cv-01131-ACA Document 13 Filed 10/18/19 Page 1 of 6                     FILED
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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA



IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
        DISTRICT OF ALABAMA SOUTHERN DIVISION

DAVID MILLAN.                                 )
    Plaintiff,                                )
                                              )
v.                                            ) 2:19-CV-01131-ACA
                                              )
EL POBLANO MEXICAN
                                              )
RESTAURANT, INC., et al.,
                                              )
    Defendants.
                                              )


          REPORT OF THE PARTIES’ PLANNING MEETING

1.   The following persons participated in a Federal Rule of Civil Procedure

     26(f) conference on September 30, 2019 by conference call.


     a)    Charline Whyte representing the David Millan, the Plaintiff.

     b)    Lewis Page representing the El Poblano Mexican Restaurant, Inc., and

           Fidel Castro, the Defendants.


2.   Initial Disclosures. The parties will complete by Friday, October 18, 2019

     the initial disclosures required by Rule 26(a)(1).

3.   Discovery Plan. The parties propose this discovery plan:


     a)    Discovery will be needed on these subjects: Plaintiff’s claims and

           damages, and Defendant’s defenses.




                                         1
          Case 2:19-cv-01131-ACA Document 13 Filed 10/18/19 Page 2 of 6




     b)       All discovery commenced in time to be completed by Friday, May 29,

              2020.

     c)       Maximum of 30 interrogatories by each party to any other party.

              Responses due 30 days after service.

     d)       Maximum of 30 requests for admission by each party to any other party.

              Responses due 30 days after service.

     e)       Maximum of 10 depositions by Plaintiff and 10 by Defendant

     f)       Depositions will be limited to 1 day of 7 hours per deponent.

     g)       Reports from retained experts under Rule 26(a)(2) due: from Plaintiff

              by Friday, January 24, 2020; from Defendant by Friday, March 6, 2020.

     h)       Supplementations under Rule 26(e) due as soon as counsel is aware

              supplementation is required at least thirty (30) days prior to close of

              discovery.


4.   Other Items.

     a. The parties do not request a conference with the court before entry of the

           scheduling order.

              b.      The parties request a final pretrial conference in July 2019.

              c.      Plaintiff should be allowed until Friday, December 13, 2019, to

                      join additional parties or to amend pleadings.




                                            2
Case 2:19-cv-01131-ACA Document 13 Filed 10/18/19 Page 3 of 6




    d.    Defendants should be allowed until Friday, December 27, 2020,

          to join additional parties or to amend pleadings

    e.    All potentially dispositive motions should be filed by Friday,

          June 26, 2020.

    f.    Although settlement cannot be realistically evaluated prior to

          close of discovery, the parties will monitor the possibility of

          resolution throughout the case as well as what formal and

          informal mechanisms might enhance the possibility of

          settlement.

    g.    Parties shall will use mediation as an alternative dispute

          resolution procedure.

    h.    Unless otherwise determined by the Court, final lists of trial

          evidence and objections thereto under Rule 26(a)(3) will be due:

               i. from Plaintiff: witnesses and exhibits 42 days before trial.

               ii. from Defendant: witnesses and exhibits 21 days before
                trial.

    i.    Parties should have 14 days after service of final lists of witnesses

          and exhibits to list objections under Rule 26(a)(3).

    j.    The case is of moderate complexity should be ready for trial by

          August 2019 and at this time is expected to take approximately

          3 days.




                                 3
Case 2:19-cv-01131-ACA Document 13 Filed 10/18/19 Page 4 of 6




    k.    Other matters:

          i.    The parties request the entry of the court's standard HIPAA

                protective order which will be revised to be specific to this

                matter and emailed to chambers.


          ii.   Disclosure or discovery of electronically-stored information

                will be handled as follows: To the extent it exists, relevant,

                non-privileged electronic information will be produced by

                the parties in either PDF or hardcopy format, to enable the

                parties to exchange discoverable information without undue

                burden or costs. A requesting party may obtain relevant,

                non-privileged electronic information in a format other than

                PDF or hard copy only upon agreement by the parties or

                upon a ruling by the Court for such information in that

                format.

          iii. The parties have agreed to handle post-production claims of

                privilege or of protection as trial-preparation material as

                follows: If information is produced in discovery that is

                subject to a claim of privilege or protection as trial-

                preparation material, then the party making the claim should

                notify any party that received the information of the claim




                                 4
Case 2:19-cv-01131-ACA Document 13 Filed 10/18/19 Page 5 of 6




              and the basis for it. After being notified, unless there has

              been an undue delay in the assertion of the claim, the

              receiving party will promptly return, sequester, or destroy

              the specified information and any copies thereof and is

              prohibited from using or disclosing the information. If there

              has been an undue delay in the assertion of the claim, then

              the receiving party may promptly present the information to

              the Court under seal for a determination of the claim. In

              such a situation, the receiving party is prohibited from using

              or disclosing the information unless determination of waiver

              is made by the Court. If a receiving party disclosed the

              information before being notified of the claim, it must take




                               5
       Case 2:19-cv-01131-ACA Document 13 Filed 10/18/19 Page 6 of 6




                         reasonable steps to retrieve the information and any copies

                         hereof from anyone to whom the information was disclosed.


Date: October 18, 2019                 /s/ Sigfredo Rubio

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                                          6
